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10

11
                                          SUPERIOR COURT OF CALIFORNIA
12                                       FOR THE COUNTY OF SANTA CLARA
13


14                                                       Case N0.   22CV395280
      JESSE GRANATO, STEPHANIE
15    LANDRUM, SELESTIA ORDWAY,                   and
      JANICE ZARAD, 0n behalf of themselves              CLASS ACTION
16    and   all   others similarly situated,

17
                                                         COMPLAINT FOR VIOLATIONS OF THE
                                   Plaintiffs,
                                                         MAGNUSSON-MOSS WARRANTY ACT,
18                                                       15 U.S.C. §§ 2301, ET SEQ.; THE UNFAIR

      V.
                                                         COMPETITION LAW, CAL. BUS. & PROF.
19                                                       CODE §§ 17200, ET SEQ.; THE
      APPLE INC"                                         CONSUMERS LEGAL REMEDIES ACT,
20                                                       CAL. CIV. CODE §§ 1750, ET SEQ.; AND
21                                Defendant              FOR UNJUST ENRICHMENT

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                                                               INTRODUCTION
                  1.            For years, Apple has engaged in a concerted             effort to prevent its      customers from

     repairing their           own   devices or paying local businesses for repairs.

                  2.            In a fair marketplace, an Apple customer with a product such as an iPhone with a

     cracked screen, aging battery, 0r broken camera lens could lengthen the device’s lifespan by

     repairing         it   themselves, enlisting a technically adept friend, or paying an independent electronics

     shop for a quick and inexpensive                  repair.


                  3.            Apple would rather       its   customers replace their devices as frequently as possible,

     however, and so has made independent repairs difﬁcult or impossible. Techniques Apple                                       enlists t0


10   frustrate repair efforts include threating                  customers With loss of warranty coverage; Withholding

11   parts, tools,           and repair manuals; placing “booby traps” and other physical impediments                        in its


12   devices; reﬁlsing t0 service devices that were previously repaired; and disparaging independent


13   repair shops            and aftermarket    parts.


14                4.            By deliberately   frustrating      its   customers’ efforts t0   ﬁx their own      devices,      Apple has

15   been able         t0 corner the repair      market and charge consumers exorbitant prices When                      their   Apple

16   devices require service. Apple’s prices are purposefully set so high that                          it is   often in consumers’

17   best interests to simply            buy a brand-new          device, leading to   more   sales    and more revenue for Apple

18   that   it   could otherwise generate.

19                5.            Apple’s repair restrictions also harm the environment, hurt small business and

20   lower-income communities, and deprive                       many consumers 0f access         to timely, local repairs.         For

21   these reasons, Apple’s anti-repair practices have been criticized                      by   the   FTC, Apple co-founder

22   Steve Wozniak, and Apple’s                  own   shareholders.


23                6.            Plaintiffs   now bring   this   proposed class action to stop Apple from continuing to

24   impede       its       customers” ability t0   ﬁx   their   own     devices or hire repair shops 0f their choosing and to

25   recover for consumers the illegal monies Apple has reaped through those                              its efforts.



26                7.            Apple’s anti-repair practices        may be permanently enj oined, and restitution ordered

27   under California’s Unfair Competition Law, Which prohibits companies from distorting the

28   marketplace by utilizing underhanded business practices that harm consumers. Apple’s practice 0f
                                                                             1

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     conditioning future warranty coverage 0n the exclusive use 0f Apple-authorized repair facilities

     may    also be enj oined        and damages awarded under the Magnuson-Moss Warranty Act, which

     prohibits those type 0f tying arrangements, as well as under the California                           Consumers Legal

     Remedies Act, which prohibits the inclusion of unconscionable provisions                              in   consumer       contracts.


                                                JURISDICTION AND VENUE
                8.            This Court has jurisdiction and venue pursuant to Cal. CiV. Code §§ 395.5 and §§

     410. 10 over the claims raised in this Complaint for the following reasons:                          (i)   Defendant maintains

     its   headquarters in Santa Clara County;                 (ii)   Defendant regularly operates, advertises, markets,

     warrants,       sells,   and repairs consumer products throughout the State of California; and                       (iii)   a

10   substantial portion of the underlying transactions                       and events complained 0f herein occurred, and

11   affected persons and entities reside, in Santa Clara County.


12                                                         CHOICE OF LAW
13              9.            The application 0f California law              to the state   law claims alleged herein     is


14   appropriate and constitutional because Apple maintains                          its   headquarters in this State and the

15   alleged misconduct emanated from this State.

16              10.           Moreover, according t0 the terms and conditions governing the service of Apple’s

17   products, the laws 0f the State of California apply.

18                                                                    P ART I E S

19              11.           Plaintiff Jesse   Granato   is   a citizen and resident 0f Illinois.       On August       14,   2020,

20   Plaintiff Granato          bought a new Apple iPhone SE (2nd generation). Plaintiff Granato’s Apple

21   iPhone SE came With Apple’s One (1) Year Limited Warranty.

22              12.           In April 2021, Plaintiff Granato Visited the Apple Lincoln Park store in Chicago,

23   Illinois   because the screen on his iPhone                SE went black. The problem was             not covered by the One-

24   Year Limited Warranty.             On April 2,   2021, Plaintiff Granato paid Apple $129.00 plus tax for a

25   screen repair on the iPhone SE.

26              13.           Plaintiff Stephanie   Landrum           is   a citizen and resident of New Jersey.     On May           17,


27   2020, Plaintiff bought a           new Apple iPhone              11. Plaintiff Landrum’s      Apple iPhone     11   came With

28   Apple’s One (1) Year Limited Warranty.

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              14.         In February 2021, Plaintiff Visited the Apple store in Marlton,                               New Jersey because
     the screen     on her iPhone            11    was broken. The problem was not covered by                     the   One-Year Limited

     Warranty.      On February 3,               2021, Plaintiff Landrum paid Apple $199.00 plus tax for a screen repair

     on the iPhone        11.


              15.         Plaintiff Selestia             Ordway       is    a citizen and resident 0f Virginia. In January 2021,

     Plaintiff Ordway           bought a new Apple iPhone 12 Pro                       Max   from Spectrum        in Plattsburgh,   New
     York. Ordway’s Apple iPhone 12 Pro                          Max came with Apple’s One                (1)   Year Limited Warranty.

              16.         In October 2021, Plaintiff Ordway contacted Apple because the camera 0n her

     iPhone 12 Pro        Max     cracked.          The problem was not covered by                the   One-Year Limited Warranty.

10   The   price   Apple quoted            Plaintiff Ordway for the              repair—over $300—Was more than Ordway could

11   afford, so she has not repaired her                   iPhone 12 Pro Max.

12            17.         Plaintiff Janice              Zarad   is   a citizen and resident of Florida.         On November       19,   2019,

13   Plaintiff Zarad      bought a new Apple iPhone 11 for her daughter. Zarad’s Apple iPhone 11 came

14   with Apple’s        One    (1)    Year Limited Warranty.

15            18.         On January              14,   2021, Plaintiff Zarad’s daughter Visited the Apple Aventura store in

16   Aventura, Florida, because the iPhone 11’s screen cracked.                               On January        14,   2021, Plaintiff Zarad

17   paid Apple $199 plus tax for a screen repair on the iPhone 11.

18            19.         Defendant Apple                 Inc. is a corporation incorporated            under the laws of the State 0f

19   California.    It   maintains         its   principal place of business in Cupertino, California.


20                                                       FACTUAL ALLEGATIONS
21            A.          Apple imposes aggressive repair                          restrictions   on    its   customers.

22
              20.         Apple       is   the    most valuable company               in the world, with a      market capitalization of $3
23
     trillion dollars     and approximately 1.65                     billion   Apple products     in use worldwide.

24
              21.         T0    stay    on       top,   Apple needs customers           t0 regularly    upgrade their Apple devices
25
     with the   latest    generation of Apple’s products, which includes the Apple iPhone (iPhone 13 Pro,

26
     iPhone   13,   iPhone       12,   iPhone SE, iPhone                11),   Apple iPad    (iPad, iPad Pro, iPad Air,       and iPad mini),
27
     Apple iPod, Apple Watch (Watch Series                             7,   Watch SE, Watch       Series 3,     Watch Nike, Watch
28
                                                                                  3
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     Hermés, Watch Studio), Apple                 Mac (MacBook Air, MacBook Pro,                     iMac,      Mac   Pro,   Mac   Studio,

     and   Mac   mini),    Apple AirPods (AirPods 3rd generation, AirPods 2nd generation, AirPods Pro, and

     AirPods Max) and Apple                 TV (4K and HD)       (hereinafter,       “Apple Products”)1.

               22.      Under normal circumstances, Apple customers With devices such                                   as an iPhone that


     have cracked screens or other minor issues could readily prolong the                              lives     0f their electronic

     devices by repairing them. Copyright and patent law both recognize end-users’ right to repair their

     own devices;     there are a variety 0f online resources that publish guides t0 help                             consumer repair

     electronic devices;         and there are a large number 0f independent small businesses willing                              to repair


     electronic devices at an affordable price.


10             23.      But      in   an   effort t0 accelerate the   pace      at   Which   its   customers need t0 replace their

11   Apple devices, Apple deliberately                  frustrates its customers’ efforts to repair their               own   devices 0r at

12   a repair shop 0f their choosing by imposing restrictions 0n the repair of its products.

13             24.      Techniques Apple has used t0 prevent customers from repairing their                                   own   devices

14   are detailed    below and include:           (i)   threatening customers with loss of warranty coverage;                       (ii)



15   Withholding parts, tools, and repair manuals;                 (iii)   placing “booby traps” and other repair

16   impediments in        its   devices; (iv) refusing to service devices that have been previously repaired; and

17   (V) disparaging       independent repair shops and aftermarket replacement parts.

18                        1.           Apple threatens customers With                 loss 0f warranty coverage.


19             25.      With      the purchase of every         new Apple branded product, Apple                      typically provides an


20   “Apple One      (1)   Year Limited Warranty”              (hereinafter,     “Apple Limited Warranty”)                that covers


21   against defects in materials and             workmanship       for a period       of one year from the date of original

22   retail   purchase.    The written terms 0f the Apple Limited Warranty                          for   its   products, including the

23   iPhone, iPad, iPod, TV, and Watch, have been substantially similar since September 2012.

24             26.      The Apple Limited Warranty contains a number of exclusions,                                  including:


25

26
     1
         The term “Apple Products”              also refers to all prior       models of the iPhone, iPad, iPod, Watch, Mac,
27
         AirPods, and     TV sold Within the last four years preceding the ﬁling of this complaint even if not
         mentioned herein.
28
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                        o    consumable parts, such as       batteries 0r protective coatings that are   designed to diminish

                             over time, unless failure has occurred due to a defect in maten'als 0r workmanship;

                        0    cosmetic damage, including but not limited to, scratches, dents, and broken plastic on

                             ports unless failure has occurred due t0 a defect in materials 0r workmanship;


                        o    damage caused by accident,        abuse, misuse, ﬁre, liquid contact, earthquake or other


                             external cause;      and

                        o    defects caused       by normal wear and tear 0r otherwise due t0 the normal aging 0f the Apple

                             Product.


              27.            Were      it   not for Apple’s unfair practices,   many customers Whose Apple            devices

10   required a repair not covered by Apple’s Limited Warranty would perform those repairs

11   themselves 0r pay an independent electronics shop t0 repair their products.

12            28.            But Apple’s Limited Warranty requires              that customers obtain all   repairs—even

13   those not covered            by   the    warranty—from Apple 0r an Apple Authorized Service Providers, such                as


14   Best Buy.

15            29.            Consumers          are not allowed t0 repair their   own devices   or pay an independent repair

16   shop t0 d0 so under the terms of their warranty, and                  if they do,   Apple terminates    their   warranty

17   coverage.

18            30.            Apple’s warranty speciﬁcally instructs consumers in bold type not to open their

19   Apple devices           to   conduct repairs and only t0 allow Apple 0r Apple Authorized Service Providers

20   (AASP)       to repair their devices:


21
              Important:           D0 not open the Apple Product. Opening the Apple Product may cause
22            damage that is not covered by this Warranty. Only Apple or an AASP should perform
              service        0n this Apple Product.
23

24            3    1.        Apple’s user manuals also instruct customers not to independently repair their


25   devices, and           Apple makes compliance with those           instructions a condition of warranty coverage. Its


26   warranty states that Apple Will only cover defects in materials and workmanship                         if the   consumer’s


27   device   is   used “in accordance With Apple’s published guidelines                      [Which] include          [Apple’s]


28   user manuals.”

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               32.        The relevant language from Apple’s user manuals                  is    reprinted below:

                     a.   m:      Apple’s user manual     states in part:       “Repairing If iPhone        is   damaged or

     malfunctions, contact Apple 0r an Apple Authorized Service Provider. Repairs                      by   service providers other


     than Apple or an Apple Authorized Service Provider may not involve the use 0f Apple genuine parts and


     may affect the safety and functionality of the device.”

                     b.   m: Apple’s     user manual states in part: “Repairing Don’t open iPad and don’t attempt


     to repair iPad yourself.   Disassembling iPad may damage             it   0r   may cause injury to you.      If iPad is


     damaged, malfunctions, or comes        in contact with liquid, contact           Apple 0r an Apple Authorized Service

     Provider. Repairs     by service providers   other than Apple   01'       an Apple Authorized Service Provider may

10   not involve the use of Apple genuine parts and may affect the safety and functionality of the device.” The

11   Apple Limited Warranty       also says: “Battery    Don’t attempt t0 replace the iPad battery yourself. The

12   lithium-ion battery in iPad should be serviced 0r recycled            by Apple 0r an authorized             service provider.”


13                   c.   m: Apple’s User Guide      user manual states in part: “Repairing Don’t open iPod touch

14   and don’t attempt to repair iPod touch yourself. Disassembling iPod touch may damage                           it   0r   may cause

15   injury t0 you. If iPod touch   is   damaged, malfunctions,     01'   comes        in contact With liquid, contact          Apple or

16   an Apple Authorized Service Provider. Repairs by service providers other than Apple or an Apple

17   Authorized Service Provider may not involve the use 0f Apple genuine parts and                         may affect the           safety


18   and functionality 0f the device.” The Apple Limited Warranty also                    says:   “Battery Don’t attempt t0

19   replace the iPod touch battery yourself.      The   lithium-ion battery in iPod touch should be replaced                        by

20   Apple or an authorized service provider.”

21                   d.   Apple TV: Apple’s user manual      states in part:         “Do not make repairs yourself. You can

22   ﬁnd more    information about getting service at support.apple.com/apple—tV/repair/service." Apple’s                              TV
23   Service and Repair webpage instructs consumers to contact Apple 0r an AASP for service and repairs.


24                   e.   Apple Watch: Apple’s user manual       states in part:        “Repairing Don’t open Apple Watch

25   and don’t attempt to repair Apple Watch yourself. Disassembling Apple Watch may damage                                   it,   result in


26   loss   of water resistance, and may cause injury t0 you. If Apple Watch                is   damaged    or malfunctions,


27   contact Apple or an Apple Authorized Service Provider.           You can ﬁnd more about getting service at

28   support.apple.com/watch/repair/service.

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                          f.   MacBook: Apple’s user manual          states in part: “Built-in battery.             Don’t attempt to replace

     0r remove the battery yourself—you                   may damage the battery, which could cause overheating and injury.

     The built—in battery should be replaced by Apple                 01'   an authorized service provider and must be recycled

     or disposed 0f separately             ﬁom household waste. Dispose of batteries according t0 your local
     environmental laws and guidelines. Don’t expose your                        MacBook Pro t0       extreme heat sources, such as

     radiators or ﬁreplaces,            Where temperatures might exceed 212°F (100°C).”

                          g.   M: Apple’s       user manual states in part: “Repairing.            Your iMac        doesn’t have any user-


     serviceable parts, except for the            memory, which is      user—replaceable in 27-inch models and service center-


     replaceable in 21 5-inch models. Disassembling your                        iMac may damage       it   or   may cause injury to you.   If


10   you attempt to open your iMac 0r install items                other than        memory in 27-inch models, you risk damaging

11   your computer, and such damage                 isn’t   covered by the limited warranty 0n your iMac. If your iMac needs

12   service, is         damaged, malfunctions, or comes in contact With               liquid, contact     Apple 0r an Apple Authorized

13   Service Provider.              You can ﬁnd information about getting service at

14   support.apple.com/mac/repair/service.”


15               33.           Apple’s    retail store   employees are required to inform consumers not               t0 obtain service or


16   repairs for non-covered warranty items                 ﬁom anyone other than Apple or an Apple Authorized Service
17   Provider. Moreover, Apple’s retail store employees infoml consumers that if they obtain service 0r


18   repairs for non—covered warranty items                 from anyone      else,   Apple Will n0 longer provide any type 0f

19   service 0r repairs for the           Apple branded products, whether covered by the warranty 0r not.

20                             2.        Apple withholds        parts, tools,     and repair manuals.

21               34.           T0    further deter customers     from exercising         their right t0 repair their      own   devices,


22   Apple also has            historically refused t0 sell parts t0 independent repair shops.


23               35.           For example, in one reported incident, a customer spilled water on her 2018

24   MacBook Air. The customer took her computer into West                               Seattle   Computers Whose technicians

25   determined the broken part was a power port—an easy ﬁx. The problem was that the company

26   could not get a replacement part.                   Owner Eric Tishkoff said, “We             can’t get parts directly     from

27   Apple   .   .   .   We just had to hand back the machine and say I’m really sorry.”                           According   t0   Mr.

28   Tishkoff, he could have               made   the repair for about $200, While he believes                   Apple would charge
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     about $800 t0 $1200. The customer ended up buying a brand-new computer from Apple.

               36.       Apple has made      certain repairs impossible without access t0                 hardware or software

     tools that are only available to       Apple Stores and authorized repair shops. For example, Without a

     proprietary software tool, independent repairs shops found                   it   impossible to perform iPhone 12

     camera repairs or      t0 repair   2018 MacBook Pros and iMac Pros.

               37.       Apple has     failed to adequately explain       its   refusal t0 not       make parts   or manuals

     available to independent repair shops. According t0 Apple,                    its   goal   is   “safe and reliable repairs,”


     and for   that to occur,   its   necessary that repair technicians follow “proper safety and repair

     procedures,” and use “genuine Apple parts and tools.” But Apple could achieve that goal by

10   providing independent repair shops and other repairers with genuine Apple parts, tools, and repair

11   manuals.

12             38.       In response t0 public pressure, Apple claimed in August 2019 that                        it   would begin

13   providing genuine parts, tools, and repair guides t0 independent repair shops through                              its



14   Independent Repair Program.

15             39.       Independent repair shops, however, have been found that promise illusory—as                                     it is



16   expensive and requires them t0 agree t0 onerous terms. The prices Apple charges independent

17   repair shops for parts     and equipment       is   excessive and often      more than what independent shops

18   typically charge for repairs.       And the pre-conditions Apple places 0n its                   Independent Repair

19   Program    are designed t0 dissuade participation          and render independent repair shops uncompetitive.

20   As   the U.S. Public Interest Research         Group put    it,   Apple’s contractual conditions make                    it   “like


21   going to a normal repair shop except one that advertises against                     [itself] at   every possible moment.”

22             40.       Among the      contractual terms     Apple requires would-be participants                 in   its



23   Independent Repair Program to agree to before they can obtain genuine parts, tools, and repair

24   guides are:

25                   o   Provisions allowing Apple to         make unannounced             inspections       and audits            at   any
                         time, including for   up   t0   ﬁve years     after an independent repair shop has left the
26
                         Independent Repair Program;
27
                     o   Provisions requiring independent repair shops t0 share their customer information
28                       (including names, addresses, and phone numbers) at Apple’s request;
                                                                   8
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                  0   Provisions requiring independent repair shops t0 prominently post Visible written
                      notice on their storefront and website informing customers that they are not
                      authorized to perform repairs by Apple;

                  o   Provisions requiring independent repair shops t0 obtain “express written
                      acknowledgment” from customers showing                      their understanding that they are not

                      receiving repairs from an Apple authorized service provider;

                  o   Provisions requiring independent repair shops to obtain express written
                      acknowledgment from customers showing                 their understanding that       Apple Will not
                      warrant the repairs, although independent                 repair shops Will be required t0 have an

                      Apple certiﬁed technician 0n       site;


                  o   Provisions that prevent independent repair shops from offering an Apple warranty
                      on the genuine Apple    parts like   Apple and        AASPS      do;

10                o   Provisions that are vague, ambiguous, broad, and subj ective that prohibit

11                    independent repair shops from using “prohibited parts,” Which are partly deﬁned as
                      “counterfeit products 0r service parts” and “products and service parts that infringe
12
                      on Apple’s   intellectual property”;       and
13
                  o   Provisions that impose penalties for independent repair shops                       who   fail   Apple’s
14                    audits.


15
            41.       As an   attorney With the Electronic Frontier Foundation stated, these contract

16
     provisions “give Apple a huge amount of discretion, impose potentially business-destroying costs

17
     and penalties 0n the repair shop, and require       that they grant access to           Apple Without notice.”       If an

18
     independent repair shop signs Apple’s agreement, they “repair non—Apple devices                       at [their] peril.”

19
                      3.        Apple places “booby traps” and other repair impediments                         in its devices.

20
            42.       Apple also deliberately makes       it   difﬁcult for independent repair shops to repair             its


21
     products through “booby traps” and other physical impediments. For example, Apple’s laptops are

22
     manufactured with proprietary screws requiring specialized tools to remove                    the.   And Apple’s
23
     AirPods are small and packed With components, making                  it   difﬁcult to replace the battery.

24
            43.       A software update that Apple issued in 2016 bricked iPhone devices if the software
25
     detected that non-Apple parts    was   installed.   Apple       initially characterized the    bricked devices as

26   “the result of security checks designed to protect our customers,” but after a public uproar ensued,

27
     Apple was forced      t0 publicly apologize   and issue a ﬁx.
28
                                                                 9
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               44.       And in 2019,                it   was widely reported that                    if   an iPhone’s battery was replaced by an

     independent repairer the iPhone would display the message “Service,” sowing confusion and

     making consumers believe                    there      is   a problem        When there            is   not.    The “Service” message appeared

     even    if the   independent repairer used a genuine Apple battery.

               45.         Recently with the introduction of the iPhone 13,                                          it    was reported         that if a    customer

     had    their   iPhone 13 display replaced by an unauthorized repairer, whether a genuine display was

     used or    not, the   phone’s Face ID featurez was disabled unless a tiny control chip from the original

     display   was moved over                  to the     new    one.   The process              to   move over the               control chip      is   complex,

     requiring time, special equipment, and the ability to microsolder. Apple and Apple Authorized

10   Service Providers, however, have access t0 a software tool that allows an iPhone 13 to accept a

11   new    screen without disabling the Face                       ID     feature.


12             46.       In or around             November           9,   2021, after public reporting, Apple informed The Verge

13   that   sometime     in the future           it   would       issue a software update t0 so that the transfer 0f the


14   microcontroller       is      unnecessary to ensure the use 0f Face ID after a display replacement.

15                       4.              Apple refuses service                    t0      customers          Who      exercise their right t0 repair.

16             47.       In addition to terminating                       its   warranty coverage, Apple refuses t0 provide any

17   service to customers             who       obtain independent repairs. Apple instructs Apple Authorized Service

18   Providers t0 refuse service as well. For example, according t0 one technician at an                                                           AASP:

19             I’m an Apple service technician                          at a local         authorized provider                      and especially When            it

               comes     to   Apple        stuff, it’s      been a      real hassle for a lot                0f people where there’s not an ofﬁcial
20
               Apple     store within almost                 150 miles of us.                  We get a lot of people who brought their stuff in
21             [saying]       ‘I   had    t0   have       my screen ﬁxed at another store,                          Ihad      my battery swapped out at
               so-and-so other            retailer,’        and suddenly              I   have to     tell   these people, ‘Unfortunately, I can’t
22
               work on your              device       anymore because Apple won’t                               let       me.’    It’s   incredibly frustrating,
23             because a        lot   of the times          it’s   just like, ‘Oh,             you know,        I    took    it   down to my           friend   Who
               works 0n        this stuff all the time,              and        all   he did was open               it.’   Unfortunately, from there, even
24
               then,   Apple        is   just like, ‘Oh, hey, if it’s a                   6S or newer, they opened                       it   and they can’t put the
25             adhesive back on,                we    can’t say deﬁnitively they didn’t d0 anything else.”                                        So   its   going t0 be

26

27   2
         The Face ID  feature allows users t0 unlock their iPhone and iPad devices, signs into apps through
         autoﬁll of usernames and passwords, and authenticate purchases “with a glance.”
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                                                                                          10
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               a whole       new phone          replacement.


               48.       For example, in October 2021, an Apple customer sued the company in small claims

     court, alleging that           Apple refused        t0 service   an iPhone although              it   was    still   under warranty.3

     According        to Apple, the       iPhone had been tampered with, although                          it   provided no additional

     explanation for         its   refusal t0 repair the iPhone.             The customer then offered to pay                   for the repair t0


     his iPhone, but      Apple        still   refused to service     it.




               49.       And in Australia in 2018, Apple was ﬁned 9                           million Australian dollars for refusing

     t0 offer free repairs          of iPhones and iPads that were previously serviced by independent repairers.

                         5.            Apple disparages independent repair shops and aftermarket                                      parts.


10
               50.       Apple        further deters customers          from repairing          their      own devices by disparaging

     independent repair shops and non-Apple parts. In                          its   product user manuals, Apple warns
11

     customers: “Repairs by service providers other than Apple 0r an Apple Authorized Service Provider may
12

13
     not involve the use 0f Apple genuine parts and                   may affect the         safety   and functionality 0f the device.”

               5 1.      Apple claims            it is   unsafe for anyone other than Apple or an Apple Authorized Service
14

     Provider to replace a product’s battery. For example, Apple warns iPhone consumers: “Don’t
15

     attempt to replace the iPhone battery yourself. The lithium-ion battery in iPhone should be
16

     replaced by Apple or an authorized service provider. Improper replacement 0r repair could damage
17

     the battery, cause overheating, or result in injury.”
18

               52.       The FTC has examined contentions                          like   Apple’s that repair restrictions are
19

     necessary t0 foster safety and prevent injury but found n0 evidence that authorized repair providers
20
     are   more   careful 0r that independent repair shops fail to take safety precautions. Neither                                    Apple nor
21

22   any other electronics manufacturer was able                      to provide the         FTC with any facts tying physical

     injuries to repairs           performed by independent repair shops.
23

               53.       Apple also            falsely suggests t0     its   customers that independent repair shops Will not
24

     properly dispose of iPhone batteries. For example, Apple says: “Putting batteries directly in the
25

26
     3
         See https ://Www.businessinsider.com/apple-sued-refusing-ﬁx-iphone-under-warranty-san-
27
         francisco-smartphone-ZOZ 1 - 1 0?utm_source=feedly&utm_medium=webfeeds (last Visited
         November      16,   202 1 ).
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                                                                              11
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     trash   is   dangerous for the environment. Apple and                               all   our authorized service providers are

     committed          to recycling   and disposing of batteries with the utmost respect for the                                             earth.   So recycle

     your device with us.”

                  54.      Apple also encourages Apple Authorized Service Providers                                                     t0 disparage


     independent repair shops. For example, Mobile Kangaroo, which claims                                                      it is      an Apple Authorized

     Service Providers, says the following about independent repair shops on                                                   its      website: “If you take


     your iPhone t0 an unauthorized repair                          facility,      you have n0 guarantee                 that they are using certiﬁed,


     authentic         Apple replacement    parts.      Only AASP’S can promise                               that. It   doesn’t          make   sense to risk

     the overall health 0f your iPhone, with                        no attached warranties, by going                       t0 a          random   repair facility.


10   Apple     facilities   use only Apple parts — and Apple stands behind every part they create.”4

11                55.      In October 2021, Vice reported that leaked Apple training Videos for Apple


12   Authorized Service Provides show that Apple trains repair technicians t0 “undermine third party

13   companies and talk customers into buying more expensive ﬁrst party                                                  repairs.”5


14                56.      For example, in one 0f the Videos which involves role playing, a                                                 man taking on the

15   role of a     consumer     asks, “I cracked the glass                        on   my phone and I’m comparing costs. How much
16   for just that part?”        The   repair technician role, played                          by another man,            says, “I         can show you the

17   cost just for the part before         we begin.” The                        customer then says,            “Whoa      .    .   .   That’s   way more than

18   the shop      down the     street.   Why is   it       s0 expensive here[?]”                    The      repair technician then says, “This


19   quote’s      [sic] for   a genuine Apple part,” and subsequently explains that                                       “A        genuine Apple part has

20   to pass      AppleCare engineering       criteria              .   .   .   With a genuine Apple              display, all the features             you’ve

21   come    t0 rely      0n behave seamlessly          .   .   .   that’s not the case             With third party displays.”

22                B.       Apple’s repair restrictions allow                            it   to   charge higher prices for repairs which in

23
                           turn force consumers t0 buy                            new    devices


24                57.      As   a result 0f Apple’s practice of frustrating                             its   customers” efforts t0 repair their


25
     4
         See https://mobilekangaroo.com/is-apple-authorized-repair-worth-it                                              (last Visited        November      16,
26
         2021)
27   5
         See https://www.vice.com/en/article/Sdbv83/leaked-apple-training-Videos—show-how-it—
         undermines—third-party-repair (last Visited                             November         16,   202 1).
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                                                                                       12
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     own devices,     customers pay Apple higher prices for repairs, buy more brand-new Apple products

     in lieu   of paying Apple for expensive repairs, forego repairs, and purchase more AppleCare+

     extended warranties to avoid paying Apple’s high prices in the event their device ever needs t0 be

     repaired.


               58.     Apple’s prices for product repairs are expensive and can cost up to a third 0f the

     price of a   new product     or more. For example, With regard to the iPhone Pro                  Max X,      11, 12,    and   13,


     Apple charges $329        for a screen repair that     is   not covered by Apple’s Limited Warranty or Apple

     Care+, and $599 for other damage. The cost 0f replacing a screen on the iPhone Pro X, 11, 12, and

     13 and iPhone X, 11, 12 and 13          is   $279 and between $399 and $549 for other damage.6

10             59.     In contrast, independent repair shops can often replace an iPhone screen for under

11   $100. Contrary to what Apple and Apple Authorized Service Providers                        tell   consumers, that does

12   not   mean the   parts independent repair shops use are inferior.            Many independent repair            shops use

13   only high-quality aftermarket parts (parts that are not            made by Apple), use            authentic parts, 0r


14   refurbished parts.

15             60.     By charging    an inﬂated price for repairs, Apple not only makes more                      money 0n

16   each repair, but   it   also causes   many customers        t0 forego a repair   and simply buy a new Apple

17   device.   Apple customers are motivated          t0   simply buy a      new product to    replace their broken one.

18   One independent repair shop owner reported that customers                   Visit his   shop   “all the     time” saying that

19   Apple told them     it   could not repair their phones and suggested they buy a                new    one.


20             61.     Apple’s inﬂated repair prices also lead more customers t0 purchase more

21   AppleCare+ extended warranties from Apple. Customers know                       that    Apple charges supra-

22   competitive prices for repairs and that if their device            is   accidentally    damaged      outside 0f the

23   standard warranty term, they will be faced with a difﬁcult decision t0 either pay Apple’s inﬂated

24   repair price 0r purchase a     new    device from Apple.        By purchasing     an AppleCare+ extended

25   warranty and paying more to Apple up-front, customers can avoid facing                         this difﬁcult decision          and

26   ensure that Apple will repair their device for a reasonable price in the event                     it is   damaged   0r

27

28
     6
         See Appendix   A for current repair price list and Appendix B for current product price                      list.



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     otherwise requires replacement parts. Customers would not need to purchase this protection from

     Apple   if repairs services     were widely available            at fair   and competitive        prices.


              62.      This   is   not the ﬁrst time Apple has used unfair business practices t0 drive sales. In

     2017, customers ﬁled several lawsuits alleging that Apple released a software update designed t0

     slow down (or     throttle) the    performance 0f older iPhone models to induce consumers t0 buy                                   new

     phones. Developers at Geekbench had published benchmark evidence showing performance

     degradation to iPhones         When the    automatic update was downloaded. Customers had long

     complained that Apple intentionally degraded the performance 0f older iPhone models through                                             its



     software upgrades, and those suspicions were                    conﬁrmed by Geekbench’s              data.


10            63.      Apple subsequently admitted              that   its   software updates contained controls to cause

11   older iPhones t0 operate        more   slowly. In response t0 the ensuing public outcry,                      Apple began

12   offering customers steeply discounted battery replacements.                        It   also agreed t0      pay up   t0    $500

13   million to consumers as part 0f a class action settlement.

14            64.      In a letter t0 investors, Apple          CEO Tim Cook reported that the company expected a
15   loss in revenue    due to decreased iPhone             sales.   According     t0   Cook, the decreased         sales       were due      in


16   part to the    many consumers Who took advantage of Apple’s reduced pricing                              for battery


17   replacements—conﬁrming             that   Apple   is   well aware that higher repair prices induce                   its   customers

18   t0   buy new Apple devices        rather than repair their existing devices.


19            C.       Apple’s repair restrictions             harm      the public in other           ways   as well.

20
                        1.         Apple’s restrictions deprive customers of timely, local repairs

21
              65.      Another harm       t0   consumers resulting from Apple’s repair                   restrictions is the lack             0f

22
     access to local and timely repairs and access to repairs that manufacturers and their network 0f

23
     authorized service providers will not offer.

24
              66.      For example, When the camera broke on Vermont State Senator Christopher
25
     Pearson’s iPhone, Apple told         him “nobody          in    Vermont could ﬁx          it.   They wanted me        to    send   it   to

26
     them.” But mailing       it   away was    impractical for Senator Pearson because he also runs a consulting

27
     business using his phone. According to Senator Pearson, mailing his phone                                away would have            the

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                                                                       14
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     effect    of shutting      down his business        for a   week.

                 67.       Untimely      restrictions     and the lack of local access            t0 repairs also   have a negative

     effect    0n     families, especially      When many parents        are   working from home and rely 0n               their products


     to   do   their   work, or when children have t0 use their products, such as tablets 0r notebooks, t0 do

     their     schoolwork       at   home.

                           2.          Apple’s restrictions         harm   the environment.

                 68.       Apple’s restrictions also result in environmental harm by increasing the rate                             at


     which      its   customers discard their Apple devices and accelerating the production of e-waste.

                 69.       The       EPA deﬁnes       “e-waste” t0 include discarded, donated, and recycled electronics,

10   such as smartphones and notebooks, Which end up on a landﬁll or unprotected                                    dump   sites in the


11   United States 0r abroad. In 2009, the agency calculated that approximately 129 million                                   cell   phones

12   were discarded each year compared                   to   fewer than 12 million that were recycled.              And in a 2014

13   study,     it   found that Americans dispose 0f approximately 416,000                         cell   phones every day.

14               70.       According         to the   FTC, “extending      the life of consumer products unquestionably


15   delays these products’ entry into the waste stream and reduces the amount 0f energy used t0

16   generate replacement parts.” Preserving independent repair options for smartphone owners                                        is


17   therefore “harmonious with the responsibilities identiﬁed                         by   the   EPA (longer-living       devices, giving


18   consumers more             ability t0   maintain those devices, and allowing for educated consumer purchases)”

19   and   “is likely to further        decrease the production 0f e-waste.”

20               71.       A study by the European Environmental Bureau concluded that if all smartphones in
21   the   European Union had a one-year                 life   extension, that   would eliminate           the release 0f 2.1 million


22   metric tons 0f carbon dioxide per year by 2030, “which                       is   the equivalent of taking        more than a

23   million cars off the roads for a year.”

24                         3.          Apple’s Restrictions         Harm      Small Businesses and Lower-Income
                                       Communities
25
                 72.       Apple’s repair restrictions also cause harm t0 small businesses and individuals they
26
     employ by         limiting their ability to       compete with Apple         for consumers’ repair business. This can
27
     result in independent 0r local repair shops hiring                  and employing fewer employees.
28
                                                                         15
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              73.    As one       participant in an       FTC workshop 0n independent electronic repairs                       stated, the


     presence 0f independent repair businesses “keeps everybody competitive, keeps everybody honest.

     It   makes people   better at   What they      d0.   It   makes people          better repairers.”    Another workshop

     participant stated, “right t0 repair allows for competition.                      It   doesn’t guarantee anyone Will Win.          It



     doesn’t guarantee that a lousy repair shop will stay in business, and                         it   doesn’t   mean that   a lousy

     dealership Will stay in business.        It   just   means opportunity.”

              74.    According       to the   FTC,    repair restrictions like those              imposed by Apple have a

     particularly deleterious impact       on communities of color and lower-income communities:

              [T]he burden of repair restrictions              may   fall        more heavily 0n communities 0f color and lower
              income communities. Many Black-owned small businesses are in the repair and maintenance
10            industries, and difﬁculties facing small businesses can disproportionately affect small
              businesses owned by people of color.       Repair restrictions for some products—such as
                                                                     .   .   .

11
              smartphones—also may place a greater ﬁnancial burden on communities of color and lower-
12            income Americans. According to Pew Research, Black and Hispanic Americans are about
              twice as likely as White Americans to have smartphones, but n0 broadband access at home.
13            Similarly, lower-income Americans are more likely to be smartphone-dependent. This
              smartphone dependency makes repair restrictions 0n smartphones more likely to affect these
14            communities adversely.

15            75.    The hardships imposed on low-income                            families and small businesses in underserved

16   communities were exacerbated during the pandemic “as consumers relied more heavily 0n

17   technology than ever before.”

18
              D.     Apple’s repair restrictions have been condemned by the FTC,                                     its   cofounder,

19                   and    its   own   shareholders.


20            76.    The FTC has        scrutinized manufacturer and seller repair restrictions for over forty-


21   years, starting With the enactment 0f the              Magnuson-Moss Warranty Act’s                    anti-tying provision,


22   which prohibits a manufacturer or             seller   from voiding a warranty              if a   consumer obtains non-

23   covered repairs from a repairer outside of the manufacturer 0r                           seller’s authorized repair      network.

24   See 15 U.S.C.   § 2302(0).


25            77.    In 2019, the       FTC   issued a 56-page report t0 Congress regarding “anticompetitive

26   practices related to repair markets.”          The     report focuses special attention              on a number of Apple’s

27   repair restrictions   and concludes      that “[r]estricting                consumers and businesses from choosing            how

28   they repair products can substantially increase the total cost 0f repairs, generate harmful electronic
                                                                         1   6
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     waste, and unnecessarily increase wait times for repairs.”                             The    report proposes several potential


     solutions, including              more rigorous enforcement 0f existing                  laws.


                  78.          Apple co-founder Steve Wozniak has also                      criticized   Apple’s repair         restrictions. In


     July 2021, Mr.             Wozniak emphasized how “[W]e wouldn’t have had an Apple, had                                    [he] not   grown

     up   in a very       open technology world.” He questioned                        why Apple would now try to               stop the self-


     repair     community,            stating that     he “believe[s] that companies inhibit              it   because   it   gives the

     companies power [and] control over everything.”                              And he    concluded his public statement by urging,

     “It’s   time t0       start     doing the right things.”

                  79.          Apple’s shareholders followed                  suit,   ﬁling a shareholder resolution in September

10   2021    that      asked Apple to reverse                 its   anti-repair practices. In a    contemporaneous press           release, the


11   shareholders noted that “Apple continues to earn criticism not only for denying consumers and

12   independent repair shops access t0 repair materials but also designing products in such a                                          way that

13   hinders repair,” and emphasized that the                           company risks signiﬁcant reputational harm                 “if it does not


14   cease      its   anti-repair practices.”


15                80.          In response t0 the increasing attention being paid t0                     its   repair restrictions,     Apple

16   announced           in   November 2021            that     it   would soon make      parts   and repair manuals available            to the


17   general public. While Apple’s apparent concession calmed the public outcry, Apple has yet to

18   make good 0n              its   promise.   And      as demonstrated         by   the disingenuous     manner       in    Which Apple

19   implemented              its   Independent Repair Program (the apparent concession                         it   announced    in   2019   t0


20   calm public          outcry), there is          little   reason to believe that Apple will fully and voluntarily surrender

21   the inﬂated repair prices, increased product sales, and other unfair competitive advantages secured


22   by   the    company’s repair           restrictions.


23                                                   CLASS ACTION ALLEGATIONS
24                8 1.         This action      is   brought and         may properly be maintained            as a class action pursuant t0


25   Cal.    Code        CiV. Proc. § 382.


26                82.          Plaintiffs bring this action              on behalf of themselves and 0n behalf of the following

27   proposed Class             initially   deﬁned       as follows:


28
                                                                                 17
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              All persons          and   entities residing in the          United States Who, in the                last   four years from
              the date 0f the ﬁling 0f this complaint: (1) bought an Apple Product, 0r (2) paid Apple
              0r an Apple Authorized Service Provider for an Apple Product repair that was not
              covered by Apple’s Limited Warranty, AppleCare, 0r AppleCare+.


              83.          Excluded from the Class are Defendant,                      its   parents, subsidiaries, afﬁliates, ofﬁcers,


     and   directors,     any   entity in    which Defendant has a controlling                   interest,   and   all   judges assigned to

     hear any aspect of this          litigation, as   well as their immediate family members.

              84.          Plaintiffs reserve the right t0          re-deﬁne the Class deﬁnition prior t0 class certiﬁcation

     and   after   having the opportunity to conduct discovery.

              A.           The     Parties   Are Numerous and Ascertainable

10            85.          The proposed Class          is   so   numerous       that   it is   impracticable to bring them        all   before


11   the Court.         Though     the exact   number and         identities    of the Class members are unknown                  at this time,


12   they likely number thousands of people, because Apple has sold and warranted millions of Apple

13   Products and has repaired thousands of Apple Products. The number and identities of the Class


14   members may be             ascertained from Defendant’s records and ﬁles and                       may     easily     be notiﬁed about

15   the   pendency of this action through individually mailed notice and/or notice by publication.

16            B.           There     Is a   Well—Deﬁned Community of Interest

17            86.          In order to determine if there            is   a well-deﬁned          community 0f interest such         that the

18   question      is   one 0f a   common      or general interest, a court should consider: (1) Whether                        common
19   questions 0f law and facts predominate; (2) whether the class representative’s claims 0r defenses

20   are typical of the class;         and         Whether the class representative can adequately represent the                         class.
                                             (3)

21                         1.        Common Questions               0f Law and Facts Predominate

22                         Whether Apple’s Limited Warranty contains provisions                              that Violate the    Magnuson-
              (a)

23                         Moss Warranty Act’s              anti-tying provision, 15 U.S.C. §§ 2301, et seq.;

24                         Whether Apple implemented                 repair restrictions that are unfair             and unlawful;
              (b)

25                         Whether       as a result of Apple’s Violations 0f the                 Magnuson—Moss Warranty Act’s
              (c)

26                         anti-tying provision, (15 U.S.C. §§ 2301, et seq),                       Apple was able          t0 charge higher

27                         prices for repairs and/or sell           more brand-new Apple replacement products than                         it


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                                                                           18
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                       otherwise would have;

               (d)     Whether         as a result of Apple’s repair restrictions,         Apple was able     t0 charge higher


                       prices for repairs and/or sell        more brand-new Apple replacement products than                   it



                       otherwise would have;

               (e)     Whether Apple’s Limited Warranty contains unconscionable provisions                             in Violation


                       0f the Consumers Legal Remedies Act, Cal. CiV. Code §§1750,                          et seq.;


               (f)     Whether         as a result 0f its alleged misconduct,        Apple was unjustly enriched; and

               (g)     Whether         Plaintiffs   and the Class are      entitled t0   damages,   restitution,   and injunctive

                       relief.


10                     2.         Plaintiffs’       Claims Are Typical 0f the Class

11             87.     Plaintiffs’      claims are typical of the claims and 0f the          members of the Class because

12   like   members of the     Class, Plaintiffs bought       new Apple        Products that were covered by a uniform

13   warranty and were subject to excessive repair              fees.


14                     3.         The Class Representative Can Adequately Represent the Class

15             88.     Plaintiffs will fairly        and adequately represent and protect the            interests   0f the Class,

16   in that they    have n0   interests that are antagonistic t0 0r that irreconcilably conﬂict               With those 0f

17   other Class members. Plaintiffs have retained counsel competent and experienced in the

18   prosecution of class action litigation, including substantial experience in the types of claims alleged

19   herein.


20             C.      A Class Action Is Superior t0 All Other Available Methods for the Fair and
                       Efﬁcient Adjudication 0f Plaintiff’s and Class Members’ Claims
21

22             89.     A class action is superior t0 all other available methods for the fair and efﬁcient
23   adjudication of Plaintiffs’ and Class members’ claims.                   A class action is superior to preserve Class
24   members’ claims who would otherwise forego                  litigation     given the burden and expense of

25   individual prosecution of their claims, in comparison to the                   amount 0f damages suffered by each

26   individual Class       member. Individualized         litigation   would burden       the courts,   would increase     the


27   delay and expense to        all   parties   and the Court, and would produce the potential for inconsistent or

28   contradictory judgments and            would     establish incompatible standards of conduct for Defendant.

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     The individual prosecution 0f separate            actions   would    create a risk 0f adjudications     Which may be

     dispositive 0f the interests 0f other Class         members not parties         to the adjudications, or substantially


     impair 0r impede their ability t0 protect their interests. Furthermore, ﬁnal injunctive relief is

     appropriate against Defendant With respect t0               members 0f a Class       as a Whole, as   opposed   t0


     individual injunctions. Certiﬁcation 0f a class action to resolve these disputes will reduce the


     possibility of repetitious litigation involving thousands              0f Class members and allow supervision by

     a single court.


                                                FIRST CAUSE OF ACTION

                              UNLAWFUL AND UNFAIR BUSINESS PRACTICES,
10
                                       Cal. Bus.       & Prof. Code §§17200, et seq.
11
               90.      Plaintiffs re-allege the      paragraphs above as       if fully set forth herein.

12
               91.      Apple has violated and continues           t0 Violate California’s Unfair       Competition Law,

13
     Cal. Bus.    & Prof. Code §§17200, et seq., which prohibits unlawful, unfair, and fraudulent business
14
     practices.

15
               92.      Apple’s practice 0f deliberately frustrating           its   customers’ efforts to repair their     own
16
     devices, including through the techniques described herein, constitutes an unlawful and unfair

17
     business practice.

18
               93.      Apple’s practice   is   unlawful in that     it   violates the   Magnuson—Moss Warranty Act,
19
     15 U.S.C. §§ 2301, et seq., Section 5 0f the Federal Trade                 Commission Act (“FTC Act”), and             the

20
     California      Consumers Legal Remedies Act,          Cal. Civ.      Code §§1750,     et seq.   (“CLRA”)   as alleged

21
     herein.

22
               94.      Apple’s practice   is   unfair for at least the following reasons:

23
                        a.   The gravity of harm       to Plaintiffs    and the proposed Class from Apple’s          acts   and
24
     practices far outweigh any legitimate utility 0f that conduct;

25
                        b.   Apple’s conduct     is   immoral, unethical, oppressive, unscrupulous, 0r

26
     substantially injurious to Plaintiffs      and the proposed Class; and
27

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                          c.   Apple’s conduct undermines 0r violates the stated public policies underlying the

     Magnuson—Moss Warranty              Act, the   FTC Act,        and the CLRA.

                95.       As   a direct and proximate result of Apple’s business practices, Plaintiffs have

     suffered injury in fact and have lost          money         0r property because they have paid increased prices for

     repairs and/or purchased          new, Apple replacement products             that they otherwise          would not have

     purchased.

                96.       Plaintiffs   and the proposed Class are          entitled to restitution, injunctive relief


     (including an order that Apple cease            its   repair restrictions),       and reasonable attorneys’ fees and

     costs.


10              97.       Injunctive relief is needed because Plaintiffs and               many       Class   members plan   t0


11   continue using their Apple Products or buy                   new Apple   Products in the future and so will continue

12   t0 suffer the     harm    alleged in this complaint—including inﬂated prices, limited access to timely

13   repairs,   and unnecessary environmental damage—unless and                         until   Apple’s unfair practices are

14   stopped. Restitution for past harms            is   an incomplete remedy that would only partially address

15   Plaintiffs’      and Class members’ grievances.

16                                            SECOND CAUSE OF ACTION
17                                       MAGNUSON-MOSS WARRANTY ACT,
18                                                   15 U.S.C. §§ 2301, et seq.

19              98.       Plaintiffs re-allege the       paragraphs above as      if fully set forth herein.


20              99.       By conditioning warranty              coverage under   its   “One     (1)   Year Limited

21   Warranty” on customers exclusively using Apple or Apple Authorized Service Providers—even for

22   repairs that are not free      and not covered by Apple’s Limited Warranty—Apple has violated the

23   Magnuson—Moss Warranty Act’s ban on                    illegal tying   arrangements.

24              100.      Speciﬁcally, 15 U.S.C. § 2302(0) states:            “No warrantor of a consumer product may

25   condition his written or implied warranty of such product 0n the consumer’s using, in connection

26   with such product, any         article or service (other        than article or service provided without charge

27   under the terms of the warranty) Which                is   identiﬁed by brand, trade, 0r corporate name.”

28              101.      The   Plaintiffs   and each member 0f the Class are “consumers” as deﬁned                     in 15

                                                                      21
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     U.S.C. §2301(3).

             102.     Apple     is   a “supplier” and “warrantor” as deﬁned in 15 U.S.C. §2301(4) and             (5).


             103.     Apple’s Products are “consumer products” as deﬁned in 15 U.S.C. § 2301(1).

             104.     Apple has not obtained a waiver from the         FTC    as provided in 15 U.S.C. § 2302(c).


             105.      15 U.S.C. §23 10 provides a cause of action for any consumer              who   is   damaged by     a

     warrantor’s Violation 0f 15 U.S.C. §2302(c).

             106.     As   a result of Apple’s Violation 0f 15 U.S.C. §2302(c), Apple has              damaged

     Plaintiffs   and Class members as alleged herein, including by causing them            t0   pay inﬂated prices      for


     product repairs; causing them t0 purchase brand-new Apple products that they otherwise would not

10   have purchased; causing them          to purchase   AppleCare+ extended warranties         that they otherwise


11   would have purchased; and causing them           to forego repairs.


12                                          THIRD CAUSE OF ACTION
13                    VIOLATION OF THE CONSUMERS LEGAL REMEDIES ACT,
14                                            Cal. Civ.   Code §§1750,     et seq.


15           107.     Plaintiffs Granato,     Landmm, and Zarad re-allege        the paragraphs above as if fully set


16   forth herein.


17           108.     Apple     is   a “person” within the meaning of Civil     Code §1761(c) and 1770 and has

18   provided goods Within the meaning of Civil Code §1761(b) and 1770.

19           109.     Plaintiffs     and members of the Class are “consumers” Within the meaning 0f Civil

20   Code §1761(d) and 1770 and have engaged              in a “transaction” within the   meaning of Civil Code

21   §1761(e) and 1770.

22           110.     Apple’s acts and practices, which were intended t0 result           in,   and Which did    result in,


23   increased repair costs and the sale 0f new, Apple replacement products, Violate Section 1770 0f the

24   Consumers Legal Remedies Act because Apple               inserted unconscionable provisions in the         Apple

25   Limited Warranty.

26           111.     Apple’s acts and practices are both procedurally and substantively unconscionable.

27           112.     Apple’s acts and practices are procedurally unconscionable because Apple’s

28   Limited Warranty      is   a standardized contract of adhesion drafted and imposed          by Apple,     the party

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     with superior bargaining strength, 0n customers 0n a take-it—or-leave-it basis. Plaintiffs could not

     have obtained Apple products from other manufacturers; moreover, other                     tablet     and smartphone

     manufacturers similarly impose repair restrictions.

                113.     Apple’s actions and practices are substantively unconscionable because they are

     harsh and shock the conscience; reasonable consumers would not expect that Apple would insert

     unlawful provisions in the Apple Limited Warranty and void their warranty                      if they      obtained repairs

     from independent repair shops. Further, reasonable consumers would not expect                          to   be deprived 0f

     the freedom 0f choosing repair shops that are able to provide local, timely and less expensive


     repairs.    Smartphones and         tablets,   such as the iPhone and iPad, are necessities;          among    other things,

10   parents use       them   t0   perform work and     to   conduct business, and children use them t0 d0 their

11   schoolwork from home.

12              114.     In accordance With the provisions of Cal. CiV.            Code   § 1782(a), Plaintiffs Granato,


13   Landrum, and Zarad, 0n behalf 0f themselves and the proposed Class, notiﬁed Apple                             in writing   of

14   the    CLRA Violation alleged herein.
15              115.     Pursuant t0 California Civil Code § 1780, Plaintiffs seek            all   available injunctive


16   relief,   including an order enjoining Apple from the unlawful practices described above. If Apple

17   does not exercise        its   opportunity t0 provide corrective action pursuant to Section 1782(b) within

18   the time provided, Plaintiffs Will         amend this complaint to seek damages and             all   other available

19   relief.


20                                           FOURTH CAUSE OF ACTION
21                                                   UNJUST ENRICHMENT
22              116.     Plaintiffs Granato,        Landrum, and Zarad re-allege the paragraphs above as              if fully set


23   forth herein.


24              117.     As    alleged above, Apple violated the anti-tying provisions of the              Magnuson-Moss

25   Warranty Act, the         FTC Act,    and the    CLRA by imposing unlawful repair restrictions.
26              118.     As    a result 0f Apple’s conduct, Apple        was able   t0 charge increased repair costs         and

27   sell   more brand-new Apple replacement products than                it   otherwise would have, thereby obtaining

28   monies Which        rightfully belong to Plaintiffs        and the proposed Class    to the detriment        of Plaintiffs
                                                                    23
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     and the proposed Class.

               119.      Apple appreciated, accepted, and retained the non—gratuitous beneﬁts conferred by

     Plaintiffs     and the proposed Class.

               120.      It   would be   inequitable and unjust for    Apple   t0 retain these wrongfully obtained


     proﬁts.

               121.      Apple’s retention of these wrongfully obtained proﬁts Violate the fundamental

     principles ofjustice, equity,        and good conscience.

               122.      Plaintiffs   and the proposed Class are      entitled to restitution   0f the proﬁts Apple

     unjustly obtained, plus interest.

10

11                                               PRAYER FOR RELIEF
12             WHEREFORE,            Plaintiffs request that the   Court enter a judgment awarding the following

13   relief:


14             A.        An order certifying the proposed Class,         and appointing   Plaintiffs’


15   counsel t0 represent said class;

16             B.        An order awarding Plaintiffs      and Class members       their actual   damages, punitive

17   damages,       restitution, non-restitutionary   disgorgement, and/or any other form 0f monetary relief

18   provided by law under the Magnusson-Moss Warranty Act, the Unfair Competition Law, and their

19   claim for unjust enrichment;

20             C.        An order, pursuant t0 the Consumers Legal Remedies Act,                enjoining Apple from

21   continuing to engage in the alleged illegal practices as the Court deems proper;

22             D.        An order prohibiting Apple      from Violating the anti-tying provision of the

23   Magnuson—Moss Warranty Act and from employing                    the repair restrictions alleged herein;


24             E.        An order awarding Plaintiffs      and the Class members pre-judgment and post-

25   judgment       interest as   allowed under the law;

26             F.        An order awarding Plaintiffs      and the Class members reasonable attorneys’ fees and

27   costs of suit, including expert Witness fees;         and

28
                                                                 24
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               G.      An order awarding   such other and further relief as   this   Court   may deem just and

     proper.



     Dated:    March   11,   2022                        GIBBS    LAW GROUP LLP

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